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                      8                                  UNITED STATES DISTRICT COURT
                      9                     EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
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                    11       ROGER McINTOSH,                                      Case No. 107CV 01080 LJO-GSA
                    12                              Plaintiff,                    ORDER DISMISSING DEWALT CM INC
                    13       v.
                    14       NORTHERN CALIFORNIA UNIVERSAL
                             ENTERPRISES COMPANY, et al,
                    15
                                                    Defendants.
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                    18                                                   ORDER
                    19                     WHEREFORE, and pursuant to Federal Rule of Civil Procedure 41(a.) DeWalt CM,
                    20      Inc. is hereby dismissed as a defendant in this action without prejudice.
                    21                     IT IS SO ORDERED.
                    22      Dated:     June 25, 2009                         /s/ Lawrence J. O'Neill
                            66h44d                                       UNITED STATES DISTRICT JUDGE
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                                                                             [PROPOSED] ORDER DISMISSING DEW ALT CM INC
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